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Jason Lee Van Dyke
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ARIZONA
                              PHOENIX DIVISION

JASON LEE VAN DYKE                                §
     Plaintiff,                                   §
                                                  §
v.                                                §      Case No. CV-18-4003-PHX-JJT
                                                  §
THOMAS CHRISTOPHER RETZLAFF                       §
    Defendant.                                    §

                 PLAINTIFF’S NOTICE OF NON-PARTICIPATION

       Plaintiff, Jason Lee Van Dyke, hereby notifies this Court that he refuses to further

participate in this case or in any other manner that will require him to interact with

Defendant. Plaintiff prays that he stop receiving any notifications pertaining to this case.

Such notifications are a waste of Plaintiff’s time, and any further proceedings in this case

that do not involve a prison sentence for Defendant are a waste of this Court’s time.

                                                Respectfully submitted,

                                                /s/ Jason Lee Van Dyke
                                                Jason L. Van Dyke
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                            CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing was served on Thomas Christopher
Retzlaff – convicted felon, known pedophile, serial stalker, and Defendant - by electronic
filing on December 26, 2018


                                         /s/ Jason Lee Van Dyke
                                         JASON L.VAN DYKE




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